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United States District

 

 

for the JUL =6 2020 |
Western District of New York \ eee, ' } J
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United States of America ~ZERN DISTRI :
vy. Case No. 20-mj- 5 ||
KEYONDRE ROBINSON
Defendant
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of May 30, 2020, in the County of Erie, in the Western District of New York, the
defendant KEYONDRE ROBINSON, in violation of Title 18, United States Code, Section 111(a)(1), did knowingly
and forcibly assault, resist, oppose, impede, intimidate or interfere with a person designated in Title 18, United States
Code, Section 1114 while engaged in or on account of the performance of official duties and such acts involved
physical contact with the victim.

This Criminal Complaint is based on these facts:

& Continued on the attached sheet.

EL

 

a GeeRioteat: signature

ELI BOJORQUEZ
DEPUTY UNITED STATES MARSHAL
TED ERVI
Printed name and title
Sworn to before me and signed telephonically.
Oy / | |
Date: July 6, 2020 i? few Ls] 7 Kor.

 

Tap 's signature

HONORABLE MICHAEL J. ROEMER
City and State: Buffalo, New York UNITED STATES MAGISTRATE JUDGE

Printed name and title
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STATE OF NEW YORE )
COUNTY OF ERIE ) $3:
CITY OF BUFFALO )

Eli Bojorquez, Deputy United States Marshal, United States Department of Justice,

Buffalo, New York, having been duly swom, states:

I. I am a Deputy United States Marshal (DUSM) currently assigned to the
Western District of New York, Buffalo office as a member of the New York / New Jersey
Regional Fugitive Taskforce. I have been a Deputy United States Marshal for approximately
3 years. I have completed a 7 week basic Deputy training academy as well as a 13 week
Criminal investigative training academy at the Federal Law Enforcement Training Center in
Glynco, Georgia. Before being a DUSM, I was a police officer with the Massachusetts Bay
Transportation Authority (MBTA) Police Department for approximately 4 years. As part of
my duties during my employment with the United States Marshals Service (USMS) I
investigate and locate Fugitives from justice and enforce federal laws, including assaults of
federal officers in violation of Title 18, United States Code, Section 111. Based on my training
and education, I have become familiar with the many different ways and techniques to
discover, and find criminals who attempt to evade law enforcement and apprehension, I have
assisted other federal, state, and local police agencies in executing various court orders and
arrest warrants. Through my experiences in the executions of these warrants and court orders,
I have become familiar with the ways in which individuals engaging in criminal activity

attempt to mask and hide their identities, and how members of gangs and criminal
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organizations utilize colors, symbols, and signs to display their membership despite hiding
their faces, Also through my experience as a prior MBTA Police officer I have become

familiar with how gangs and criminal groups are involved in assaults.

2. This affidavit is made in support of a criminal complaint charging Keyondre
ROBINSON, with a violation of Title 18, United States Cade, Section 111{a){1) (Assaulting,

resisting, or impeding certain officers or employees).

3. My investigative experience detailed herein, and the experience of other law
enforcement agents and officers who are participating in this investigation, serve as the basis
for the opinions and conclusions set forth herein: This affidavit is being submitted on a limited
purpose, that is, a probable cause determination relative to the requested criminal complaint;
therefore I have set forth only the facts that I believe are necessary to establish probable cause
to believe that Keyondre ROBINSON did knowingly violate Title 18, United States Code,

Section 111{a)(1).

BACKGROUND OF INVESTIGATION
4. On May 30, 2020, a large protest related to the Black Lives Matter movement
occurred in Niagara Square, Buffalo, NY. Thousands of protester gathered outside of
Niagara Square and the nearby Federal District Court at 2 Niagara Square, Buffalo, NY.
Based on the agitated and sometimes violent nature of some of the protesters, myself and
other US Marshals were tasked with protecting the District Court from any possible looting
or destruction of property. United States Marshals (USMS), Homeland Security Investigation

(HIS), Immigration Customs Enforcement (ICE), Federal Protective Services (FPS), New
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York State Police (NYSP), Amherst Police Department (AMP), and Buffalo Police
Department (BPD) officers lined up along the Southeast Corner of the Courthouse standing
shoulder-to-shoulder along the courthouse steps. This was done to protect the glass entryway

to the Courthouse.

5. As the USMS, HSI, ICE, FPS, NYSP, AMP, and BPD lined the courthouse
steps, pratesters closely approached the law enforcement officers. Each BPD officer was
equipped with the body camera, which video-recorded the events. Many of the protesters
appeared angry, screaming at the law enforcement officers and grabbing at their batons. On
the southern side of the courthouse steps, facing toward Niagara Street, one particular USMS
officer (Hereinafter referred to as Victim 1) was standing guard. Based on my training and
experience I know Victim 1 is a federal officer or employee within the meaning of Title 18,

United States Code, Section 111(a) and Title 18, United States Code, Section 1114.

6. At approximately 6:45 PM, Victim 1 was struck in the face by a water bottle
that was thrown by a protester. Because of the chaotic nature of the protest, officers did not
pursue the individual who threw the bottle because doing so would endanger the officers and

the Courthouse.

7. After a week of protests, USMS officers gathered the body camera videos from
the BPD officers to identify the individual who hit Victim 1 by with the water bottle. The
body camera footage from various officers clearly showed Victim 1 being hit in the face with

the water bottle. The footage aiso revealed a young, African American male wearing a blue
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hooded sweatshirt/jacket; dark blue pants; a gray/green North Face backpack; an American

flag designed face mask/neck gator; and blue shoes, as the individual who threw the bottle.

8. Screenshots were taken from the body camera footage and one such screenshot

appears as follows (the target appears in the lower right-hand corner appearing to throw a

water bottle):

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9. Some of the screen-captured images were provided to the Erie Crime Analysis
Center to run through facial recognition databases to identify the African American male in

the blue jacket.

10. On June 26, 2020, I was notified by Erie Crime Analysis Center that the facial

recognition software had identified ROBINSON as a match for the provided screenshots.
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ROBINSONS’s booking photograph from a prior arrest matched with the screenshots taken

from May 30, 2020.

11. [ conducted a criminal records search on ROBINSON that showed that he is a
prior violent offender who has arrests and convictions for Burglary, Criminal Possession of a
Weapon, Attempted Escape, and Criminal Obstruction of Breathing with an Order of

Protection issued against him.

12. On June 26, 2020, I performed open source searched into ROBINSON. Ii
viewed ROBINSON’s Facebook page, which depicted images associated with the Crips gang.
Based on my training and experience, I know that the Crips are generally associated with the
color blue, similar to the color facket and shoes worn by ROBINSON during the May 30,
2020 protest. I also observed a video posted on ROBINSON’s aunt's, Latifa JOHNSON,
Facebook account (latifa johnson.94) on April 7, 2020, which shows ROBINSON wearing

the same blue shoes that [ observed him wearing at the May 30, 2020 protest.

13. On June 29, 2020, I performed physical surveillance at ROBINSON'’s home
and J personally observed ROBINSON enter and exit the house. ROBINSON was wearing
a Gray / Green North Face backpack that I identified as the same backpack he wore during

his assault on federal officers on May 30, 2020.
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CONCLUSION
14. _ Based on the above-mentioned information, your Affiant asserts that there is
probable cause to believe that Keyondre ROBINSON, did knowingly violate Title 18, United

States Code, Section 111(a)(1) (Assault of a Federal Officer).

ELI BOJ UEZ ©
DEP UNITED STATES MARSHAL

UNITED STATES MARSHALS SERVICE
Sworn and subscribed to telephonically
Hy
this _ day of July 2020 —_—
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MICHAEL J. ROEMERY ~ v

UNITED STATES MAGISTRATE JUDGE
